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                          UNITED STATES DISTRICT COURT

                               DISTRICT OF IDAHO



Ramon ESPINOZA RODRIGUEZ                              Civil No. 1:19-cv-19-00192


                              PLAINTIFF                             COMPLAINT

                    vs.                        Agency File. No.:     A206-237-087

CANYON COUNTY


                            DEFENDANT




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                       I.     JURSIDICTION AND VENUE

1. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (federal question

   jurisdiction), § 1343, and Article III of the United States Constitution.

2. Venue is proper under 28 U.S.C. § 1391(b)(2) as a substantial part of the events

   or omissions giving rise to the claim occurred in this judicial district.

3. An actual controversy has arisen and now exists between the plaintiff and the

   defendant.

                       II.    PARTIES

4. The Plaintiff is a resident of Idaho.

5. The Defendant Canyon County is a political sub-division of the state of Idaho.

                       III.   FACTUAL ALLEGATIONS

6. The Defendant operates the Canyon County Jail in Canyon County, Idaho.

7. The Defendant has custody and control of all persons confined in the Canyon

   County Jail and is responsible for the day-to-day operations of the Canyon

   County Jail.

8. On or about May 27, 2017, the Plaintiff was arrested by law enforcement

   officers based upon an arrest warrant issued by a Canyon County magistrate

   judge.

9. Upon arrest on May 27, 2017, the Defendant issued the Plaintiff a $1,000.00

   bond. See Exhibit A (Officers Arrest Sheet).




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10. On or about May 27, 2017, the Plaintiff’s daughter went to the Canyon County

   jail with the intention of paying the $1,000.00 bond so that the Plaintiff would

   be released from criminal custody.

11. Near the Canyon County jail, on or about May 27, 2017, a bail bondsman

   informed the Plaintiff’s daughter that there was no bond that could be paid due

   to a hold issued by Immigration and Customs Enforcement (ICE).

12. On or about May 27, 2017, the Defendant received a document entitled

   “DEPARTMENT OF HOMELAND SECURITY IMMIGRATION DETAINER-

   NOTICE OF ACTION” identified as “DHS Form I-247A (3/17)” on the footer of

   the document relating to the Plaintiff. See Exhibit B (Form I-247As).

13. The immigration detainer indicates that ICE had determined that the Plaintiff is

   removable because of “statements made by [the Plaintiff] to an immigration

   officer and/or other reliable evidence that affirmatively indicate that [the

   Plaintiff] either lacks immigration status or notwithstanding such status is

   removable under U.S. immigration law” and requested that the Canyon

   County Jail maintain custody of the plaintiff “for a period not to exceed 48

   hours beyond the time when [the Plaintiff] would otherwise have been released

   from your custody” to allow DHS to take custody of plaintiff.

14. On or about May 31, 2017, at about 2:30 pm the Plaintiff’s daughter paid the

   $1,000 bond at the Canyon County jail. See Exhibit C (Notice of Bond Posted).




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15. On or about May 31, 2017, after the Defendant accepted the bond payment, the

   Plaintiff’s family waited at the jail all day for the Plaintiff to be released from

   the Defendant’s custody.

16. On or about May 31, 2017, after the Defendant accepted the bond payment, a

   Canyon County official told the family that it was up to immigration officials

   whether the Plaintiff would be released.

17. On or about May 31, 2017, after the Defendant accepted the bond, the Plaintiff’s

   daughter’s partner was told by a Canyon County official that the Defendant

   was waiting for ICE to assume custody.

18. During this conversation on or about May 31, 2017, the Plaintiff’s daughter’s

   partner explained to the Canyon County official that the Defendant needed to

   release the Plaintiff in order to avoid being liable for his detention.

19. During this conversation on or about May 31, 2017, the Plaintiff’s daughter’s

   partner explained that the Defendant was engaging in a warrantless arrest.

20. On or about 10:02 a.m. on June 1, 2017, Attorney Benjamin Stein sent a letter to

   the Defendant regarding the Plaintiff’s bond payment and ongoing detention.

   A true and correct copy of which is attached as Exhibit D.

21. Despite the bond being paid and accepted by the Defendant, the Plaintiff was

   not released from the Defendant’s custody until June 1, 2017, at 12:06 pm.

22. At all times relevant to this complaint, ICE and the Defendant had not entered

   into a written agreement with the United States Attorney General to authorize

   the Defendant to perform any function of an immigration officer.

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23. The Defendant is not authorized to make civil arrests for violations of the

   Immigration and Nationality Act.

24. The Plaintiff was in the physical custody of the Defendant from May 27, 2017,

   to June 1, 2017.

25. The Plaintiff was in the legal custody of the Defendant from May 27, 2017, to

   June 1, 2017.

26. The Defendant confined the Plaintiff from May 27, 2017, to June 1, 2017.

27. The Defendant intended to confine the Plaintiff from May 27, 2017 to June 1,

   2017, and intentionally did so.

28. The Plaintiff was aware of his confinement in the Canyon County Jail from

   May 27, 2017, to June 1, 2017.

29. At all relevant times, the Defendant was aware that a bond had been set for the

   Plaintiff.

30. The Defendant was aware that it accepted a payment of funds in the amount of

   the bond set for the Plaintiff for the purpose of securing his release from

   custody on May 31, 2017.

31. During the course of his incarceration, the Defendant did not provide the

   Plaintiff any opportunity to challenge his continued detention.

32. The Defendant refused to facilitate the Plaintiff’s release from custody at any

   time before June 1, 2017, including after the Defendant accepted a $1,000.00

   bond payment from the Plaintiff’s family.



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33. Based upon information and belief, the Defendant has a policy, practice, or

   custom of detaining inmates solely due to a suspicion of the inmate’s

   immigration status.

34. The Defendant has a policy, practice, or custom of detaining inmates solely due

   to the request of an immigration official or agency to hold an individual

   beyond the period when the inmate would otherwise be released.

35. The Defendant has a policy, practice, or custom of detaining inmates solely due

   to an immigration detainer.

36. The Defendant’s policy, practice, or customs related to the detention of

   individuals based upon suspicion of the individual’s immigration status or an

   oral or written request of an immigration official or agency to hold an

   individual beyond the period when the inmate would otherwise be released is

   so widespread that it is known by and acted upon third parties such as local

   bail bond companies.

37. The ICE agency of DHS is only allowed to issue detainers (Form I-247) in

   accordance with the authority granted to them pursuant to the Immigration

   and Nationality Act (INA).

38. The Defendant did not ensure that ICE made an individualized finding of the

   Plaintiff’s flight risk before a neutral, detached judicial officer at any time.

39. The Defendant did not ensure that ICE secured a judicial determination of

   probable cause authorizing the Plaintiff’s arrest and detention at any time.



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40. The Defendant did not ensure that ICE or any immigration agency provided

   the Plaintiff with the opportunity to contest any request that the Defendant

   detain the Plaintiff while he was an inmate at the Canyon County jail.

41. The Defendant did not provide the Plaintiff the opportunity to contest the

   Defendant’s decision to continue his detention, even after the Plaintiff’s

   daughter paid his criminal bond.

42. The Plaintiff did not then and does not now, have any means to challenge the

   validity of the Defendant’s decision to continue his detention without allowing

   him to be released, even after the Plaintiff’s family paid his criminal bond.

43. Because of each of the Defendant’s acts complained of herein, the Plaintiff has

   suffered loss of liberty, loss of enjoyment of life, humiliation, mental suffering,

   emotional distress, stress, and other harm in an amount to be determined at the

   time of trial.

44. Because of each of the Defendant’s acts complained of herein, the Plaintiff’s

   family suffered loss of enjoyment of life, financial loss, mental suffering,

   emotional distress, stress and other harm in an amount to be determined at the

   time of trial.

45. The Defendant had the information necessary to prevent the violation of the

   Plaintiff’s constitutional rights as alleged herein.

46. For at least two decades, the immigration officials (previously Immigration and

   Naturalization Services, and now ICE) have commonly lodged detainers with

   local jurisdictions.

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47. ICE has routinely lodged immigration detainers with the Defendant for several

    years before 2017, and it continues to routinely lodge detainers with the

    Defendant.

48. The Defendant has actual or constructive knowledge that commercial bail bond

    companies in Canyon County are advised that the payment of a bond will not

    cause a criminal defendant’s release if an ICE detainer has been lodged.

49. By May of 2017, the Defendant had actual or constructive knowledge that

    individuals in their custody were routinely denied release due to an

    immigration detainer or other request by immigration officials to hold an

    individual beyond the period when they would otherwise be released from

    criminal custody.

50. By May of 2017, the Defendant had actual or constructive knowledge that

   individuals in their custody were discouraged from posting a bond due to an

   immigration detainer or other request by immigration officials to hold an

   individual beyond the period when they would otherwise be released from

   criminal custody.

51. The Defendant does not provide adequate training to its officials, employees or

    agents who frequently come into contact with immigration detainers.

52. The Defendant does not provide adequate training to its officials, employees or

    agents who come into contact with the individuals who seek to secure the

    release of an individual who is the subject of an immigration detainer.



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53. The Defendant does not provide adequate training to its officials, employees, or

   agents regarding arrest and detention authority.

54. The Defendant is deliberately indifferent to the constitutional rights of persons

   who are the subject of an immigration detainer or other request by immigration

   officials to hold an individual beyond the period when they would otherwise

   be released from criminal custody.

55. The Defendant’s failure to adequately train their officials, employees or agents

   regarding immigration detainer or other request by immigration officials to

   hold an individual beyond the period when they would otherwise be released

   from criminal custody is a proximate cause of the Plaintiff’s unlawful

   detention.

56. The Defendant does not take any steps to ensure that the public or people who

   do business with the Defendant, such as bail bond companies, are made aware

   of the rights of individuals to be released from state custody upon payment of a

   bond notwithstanding the criminal defendant’s immigration status.

57. At all times relevant to this complaint, the Defendant was aware of the

   unlawful nature of restraining the Plaintiff’s liberty.

58. ICE served the immigration detainer (Form I-247) without a Notice to Appear

   (NTA).

59. The immigration detainer (Form I-247) lodged against the Plaintiff was not

   facially valid.

60. The process relied upon by ICE to produce the detainer was not facially valid.

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                       IV.   CLAIMS FOR RELIEF

          Fourteenth Amendment (Due Process): 42 U.S.C. § 1983

61. The Plaintiff re-alleges and incorporates by reference each of the preceding

   paragraphs.

62. Without any basis in state or federal law, the Defendant denied the Plaintiff the

   opportunity to be released by posting bail, thus depriving him of his liberty

   without due process of law.

               Fourth Amendment (Unlawful Seizure): 42 U.S.C. § 1983

63. The Plaintiff re-alleges and incorporates by reference each of the preceding

   paragraphs.

64. The Defendant continued to detain the plaintiff without any basis in law by

   refusing to release him when the Plaintiff’s family paid his bond.

65. The Defendant continued to detain the Plaintiff without any basis in state law

   by not releasing the Plaintiff when the Plaintiff’s family paid his bond,

   depriving him of his liberty.

66. There is no lawful order or process underlying the Defendant’s decision to

   arrest and continue to detain the Plaintiff after he would have otherwise been

   released.




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                           V.     PRAYER FOR RELIEF

WHEREFORE, plaintiff respectfully requests that this Court:

    67. On his first claim, grant him compensatory damages in an amount to be

        determined at the time of trial.

    68. On his second claim, grant him compensatory damages in an amount to be

        determined at the time of trial;

    69. As to all claims grant him any other damages as authorized by law in an

        amount to be determined at the time of trial.

    70. As to all claims grant him his cost and attorneys’ fees pursuant to 42 U.S.C. §

        1988; and

    71. Grant him such other relief as this Court deems just and proper.



                    Dated this 24th day of May 2019.

                                           ____/S/Maria E. Andrade__________
                                           Maria E. Andrade
                                           Immigrant Justice Idaho
                                           Of Attorneys for Plaintiffs




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                              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 24th day of May 2019, the foregoing

COMPLAINT was electronically filed with the Clerk of the Court using the CM/ECF

system which sent a Notice of Electronic Filing to the following person(s):




                                              __/S/Maria E. Andrade________________
                                               Maria E. Andrade




                                                                        COMPLAINT 12
